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                                                                                                                                                                                                                             Phone Number (81'.3) 505-1501
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•CVS pharmacy                                                                                                                                                                                                          PATIENT PRESCRIPTION INFORMATION
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                 6?06 COMMERCE PALMS OR                                             #6007          Ph       813.971 -2459                                                                                               IF YOU HAVE ANY QUESTIONS ABOUT YOUR MEDICATION,
                 TAMPA, FL
(.)              3,i4,.,                                                                           WWW .CVS.com                  ZHOU ,SHUFENG                                                                          PLEASE CONTACT YOUR PHARMACIST:
C                                                                                                                                                                                 04/08/2018                                               Mohammad Khan,RPh.
(1)                                                                                                                              16410 BURNISTON OR                               Prscbr: CO LI N SANO Y BEACH
>                                                                                                                                TAMPA , FL 33647                                 Refills: 5
"O                                                                                                                               Ph: 813.505-150 I
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C                                                                                                                                OMEPRAZOLE OR 20 MG CAPSULE
                                                                                                                                 SA N007
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.c     This is a WHITE, OBLONG-shaped CAPSULE imprinted with OME 20 on one side and OME 20 on the other.
<:t"
N      OMEPRAZOLE DELAYED-RELEASE CAPSULE · ORAL · loh-MEP-ra-zole)
c COMMON BRAND NAMEIS):                                                                                                                                                                                                                                                            V)

-      Prilosec                                                                                                                                                                                                                                                                    -E
OJ USES:                                                                                                                                                                                                                                                                           >-o,
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§ Omeprazole is used to treat certain stomach and esophagu s problems !such as acid re flux, ulcers). It works by decreasing the amount of acid your stomach makes. It relieves symptoms such as                                                                                   -o--o
c heartburn, difficulty swallowing, and persisten t coug h. This medica tion helps heal acid damage to the stomach and esophagus, helps prevent ulcers, and may help prevent cancer of the esophagus.                                                                              ~a ·«;
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Q. Omeprazole belongs to a class of drugs known as pro ton pump inhibi tors iPPls). If you are self-treating with this medication, over-the-counter omeprazole products are used to treat frequent heartburn                                                                       "'-""c::
rJi !occurring 2 or more days a week). Since it may take 1 to 4 days to have full effect, these products do not relieve heartburn right away . For over-the-counter products, carefully read the package                                                                           ~.~g
~ instructions to make sure the product is right for you. Check the ingredients on the label even if you have used the product before. The manufacturer may have changed the ingredients. Also , products                                                                          .0-o"'
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QJ     with similar brand names may contain different ingredients mean t for different purposes. Taking the wrong product could harm you.                                                                                                                                          3        C'tl-6
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..., Read the Medication Guide and the Patient Information Leaflet if availab le from your pharmacist before you start taking omeprazole and each time you get a refill. Take this medication by mouth as
Q)                                                                                                                                                                                                                                                                                                  ctS
Cl)    directed by your doctor, usually once daily, before a meal. If you are self-treating, fo llow all directions on the product package. Dosage and length of treatment are based on your medical condition and
~ response to treatment. In children, the dosage is also based on weig ht. Do not increase your dose or take this drug more often than directed. If you have any question s, ask your doctor or pharmacist.
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... Oo not crush, break, or chew this medication. Swallow the capsules who le. If you have trouble swallowing the capsule, you may open the capsule 1f it is not sealed and carefully sprinkle its contents on a                                                                    ~         -~
 ~ spoonful of soft, cool applesauce. Swallow all of the mixture righ t away without chewing it. Then drink a glass of cool water to make sure you have swallowed all of the dose. Do not prepare the mixture                                                                      " ' V) 0
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        ahead of time for later use. Doing so may destroy the dru g. If needed, antacids may be taken along with this medication. If you are also taking sucralfate, take omeprazole at least 30 minutes before                                                                     V) :::,         c::
                                                                                                                                                                                                                                                                                    V)"'"'
      _sucralfate. Use this medication regularly to get the most benefit from it. To help you remember, take it at the same time each day Continue to take this medication for the prescribed length of treatment                                                                   c._.,
                                                                                                                                                                                                                                                                                    O..c:a:J
        even if you are feeling better. If you are self-treating wi th the over-the-counter product, do not take it for more than 14 days unless directed by your doctor. Tell your doctor if your condition persists or                                                           Q) _ .«)
       worsens. If you are self-treating, tell your doctor if your heartburn persists after 14 days or if you need to use this medication more than once every 4 months. The risk of side effects goes up over time .
       Ask your doctor how long you should take this medication. If you think you may have a serious medical problem, get medical help right away.                                                                                                                                 -.o-
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       SIDE EFF ECTS:
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       See also Precautions section. Headache or abdominal pain may occur. If any of these effects persist or worsen , tell your doctor or pharmacist promptly. If your doctor has directed you to use this product.                                                                g·~_g
       remember that he or she has judged that the bene fit to you is greater than the risk of side effects. Many people using this medication do not have serious side effects. Tell your doctor right away if you
  - have any serious side effects, including: symptoms of a low magnesium blood level !such as unusually fast /slow/irregular heartbeat. persistent muscle spasms, seizures), signs of lupus !such as rash on                                                                       ~-g~c:: ~

  ii nose and cheeks, new or worsening joint pain). This medica tion may rarely ca use a severe intestinal condition (Clostridium difficile-associated diarrhea) due to a type of bacteria. Do not use anti-diarrhea                                                                ~       g ·co
  j products or narcotic pain medications if you have any of the foll owing symptoms because these products may make them worse. Tell you r doctor right away if you develop: persistent diarrhea,                                                                                 _g >-.E
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  : abdominal or stomach pain/cramping, fever, blood/mucus in your stool. Rarely, proton pump inhibitors !such as omeprazole) have caused vitamin 8-12 deficiency. The risk Is increased 11 they are taken                                                                          -c:='.          C/)

  3 every day for a long time (3 years or longer). Tell you r doc tor right away if you develop symptoms of vitamin 8-12 deficiency (such as unusual weakness, sore tongue, or numbness/tingling of the                                                                             2:! ~~
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   _ hands/feet). A very serious allergic reaction to this drug is rare. However, get medical help right away if you notice any symptoms of a serious allergic reaction , including: rash. itching /swelling (especially                                                               V)    V)      "'
  ) of the face/tongue/throat), severe dizziness, trouble breathing, signs of kidney prob lems (such as change in the amount of urine). This is not a complete list of po ssible side effects. If you notice other                                                                  t5 § E
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       effects not listed above, contact your doctor or pharmacist. In the US· Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800 FDA -1088 or at
   3 www.fda.gov/medwatch. In Canada · Ca ll your doctor fo r medical advice abo ut side effects. You may report side effects to Health Canada at 1-866-234 2345.
       PRECAUTIONS:
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       Before taking omeprazole, tell your doctor or pharmacis t if you are allergic to it; or to similar drugs (such as esomeprazole, lansoprazole, pantoprazole); or 11 you have any other allergies. This product                                                                 "' c::-1-.
                                                                                                                                                                                                                                                                                    ..c:
       may contain inactive ingredi_   ents, which can cause allergic reactio ns or other problems. Ta lk to your pharmacist for more details. Before using this medication, tell your doctor or pharmacist your medical                                                            t-~~
       history, especially of: liver disease, l_
                                               upus. Some symp toms may ac tually be signs of a more serious condition . Get medical help right away if you have heartburn with lightheadedness/sweating ldizziness,                                                                   . . "'"'
                                                                                                                                                                                                                                                                                           E"'
       chest/Jaw/arm/shoulder pain (especiall y with shortn ess of brea th, unusua l sweating). unexplained weight loss. In addi tion, before you self-treat with this medication, get medical help right away if you                                                               ti: ~..c:
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       have any of these signs of a serious condition: tro uble/pain swa llowing food, bloody vomit. vomit that looks like coffee grounds, bloody/black stools, heartburn for over 3 months, frequent chest pain,
    l. frequent wheezing (especially with heartburn). nausea/vo miting, stomach pain. Proton pump inhibitors (such as omeprazole) may increase your risk for bone fractures, especially with longer use, higher                                                                     ~ -~             g_
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        doses, and i_n older adu_lts. Talk with your doctor or pha rmacist about ways_to prevent bone loss/fracture, such as by taking calcium (such as calcium citrate) and vitamin D supplements. Children may be                                                                 t.) ..c:-

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    , more sen_   sItIve to the side effects of this drug, especially fever, cough, and infections of the nose/throat/airways. Before having surgery, tell your doctor or dentist about all the products you use (including                                                         CI> §~
        prescription drugs, nonprescription drugs, and herbal products). During pregnancy, this medication should be used only when clearly needed . Discuss the risks and benefits with your doctor. This                                                                         Q        1...-    ~
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          Case 8:17-cv-01814-RDP-UAM Document 38-1 Filed 05/03/18 Page 3 of 8 PageID 195




med1cat1on passes into breast milk. The effects on a nursing infant are unknown. Consult your doctor before breast-feeding.
DRU GINTERACTIONS:
See also How to Use section. Drug interac tions may change how your medications work or increase your risk for serious side effects. This document does not contain all possib le drug
interactions. Keep a list of all the products you use !including prescription/nonprescription drugs and herbal products) and share it with your doctor and pharmacist. Do not start, stop, or
change the dosage of any medicines without your doctor's approval. Some products that may interact with this drug include: cilostazol, clopidogrel, methotrexate (especially high-dose
treatment). ri fampin, St John's wort. Some products need stomach acid so that the body can absorb them propeily. Omeprazole decreases stomach acid, so it may change how well these
products work . Some affected products include atazanavir, erlotinib, nelfinavir, pazopanib, rilpivirine, certain azole antifungals (itraconazole, ketoconazole, posaconazole), among others.
 Omeprazole is very sirmlar to esomeprazole. Do not use any medications containing esomeprazole while using omeprazole. This medication may interfere with certain laboratory tests,
possibly causing false test results. Make sure laboratory personnel and all your doctors know you use thrs drug.
OVERDOSE:
If someone has overdosed and has serious symptoms such as passing out or trouble breathing, call 911. Otherwise, call a poison control center right away. US residents can call their
local poison control center at 1 800 222-1222. Canada residents can call a provincial poison control center. Symptoms of overdose may include: confusion, unusual sweating, blurred
v1s1on , unusually fast heartbeat
NOTES:
If your doctor has prescribed thrs med1cat1on for you, do not share rt wrth others. If your doctor instructs you to use this medication regularly for a long time, laboratory and medical tests
(such as a magnesium blood test. vitamin B-12 levelsl may be performed periodically to monitor your progress or check for side effects. Keep all regular medical and laboratory
appointments.
MISSED DOSE:
If you miss a dose, take rt as soon as you remember. If it is near the time of the next dose, skrp the missed dose and resume your usual dosing schedule. Do not dou~le the dose to catch
up.
STORAGE:
Store at room temperature away from light and moisture. Do not store rn the bathroom. Keep all medications away from children and pets. Do not flush medications down the toilet or pour
them rnto a drain unless instructed to do so. Properly discard this product when it is expired or no longer needed. Consult your pharmacist or local waste disposal company.
Information last revised Nov ember 2016. Cop yrig ht(c) 201 6 First Databank, Inc.                                                                                     •
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                                      Case 8:17-cv-01814-RDP-UAM Document 38-1 Filed 05/03/18 Page 4 of 8 PageID            196
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                                                                                                                                     TAMPA, Fl 33647



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•CVS pharmacf                                                                                                                                                                               PATIENT PRESCRIPTION INFORMATION
        6206 COMMERCE PALMS OR.                                 #6007      Ph        813.971 ·2459                                                                                          IF YOU HAVE AN YQUESTIONS AB OU T YOU R MEDI CATION,
 Q)     TAMPA. fl
g       3,1647                                                             www .cvs.com                  ZHOU,S HUFENG                                     04/19/2018
                                                                                                                                                                                            PLEA SE CONTACT YO UR PH ARMA CIST
                                                                                                                                                                                                     Monica G Tadros,RPh.
 co                                                                                                      16410 BURN IS TON DR                              Prscbr : COLIN SAN DY BE ACH
 >                                                                                                       TAMPA , fl 33647                                  Re fills: 3
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 co
 C                                                                                                       ATORVASTATIN 20 MG TABLET
                                                                                                          APOTEX CORP

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                                                                                                         TAKE 1 TABLET BY MOUTH EVERY DAY
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.S::    This is aWH\TE, OVAL·shaped TABLET imprinted with II.PO on the hont and ATV 20 on the back.
~ ATORVASTATIN · ORAL· (a·T OR·va-STAT-in)
c COMMON BRAND NAME(SI:
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·-      Lipitn r                                                                                                                                                                                                                                   -~
Ql      USES:                                                                                                                                                                                                                                       >,.,
§       Atorvastatm is used along with a proper diet to help lower "bad " cholesterol and fats \such as LDL, triglycerides) and raise "good" chol es terol !HOLi in the blood . It belongs to a group of dru gs known as                           .c .c:
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.c      "statins." It works by reducing the amount of cholesterol made by the liver. Lowering "bad " cholesterol and trigl ycerides and raising "good" choles terol decrea ses the risk of heart disease and helps                                  ~o ·co
C.      prevent strokes and heart attack s. In addition to eating a proper diet \such as a low-cholesterol/lo w· fat diet). other lifestyle changes that ma y help this medi cation work better incl ud e exercising, losing                        ~      Cl>"ro,
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c,i     weight if overweight, and stopping smoking. Consult your doctor for more details.                                                                                                                                                           ~·~.g
'=      HOW TO USE:                                                                                                                                                                                                                                ~-gg
ai      Read the Patient Information Leallet ii available horn your pharmacist before you start taking atorvastatin and each time you get a refill. If you ha ve an y qu es tions, ask your doc tor or pharmacist. Take                            "S
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                                                                                                                                                                                                                                                           C'O"C
::      this medication by mouth with or without foo d as directed by your doctor, usually once daily . The dosage is ba sed on your medical condition , response to treatment, age, and oth er medications yo u may                                       V, . ,


Ql
t,
        be taking. Be sure to tell your doctor and pharmacist about all the products you use \including prescription drugs, nonprescription drug s, and herbal product s). Avoid ea ting grap efr uit or drin king
        grapefruit juice while using this medication unless your docto r instructs you otherwise. Grapefruit can increa se the amount of this medication in you r blo odstream. Co nsult your doctor or pharmacist for
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-2!     more details. II you also take certain other drugs to lower your cholesterol \bile acid·binding resin s such as cholestyramine or colestipol l. take atorva statin at lea st 1 hour before or at least 4 hours alter                       -"'"'
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.._     taking these medications. These products can react wi th atorvastatin, preventing its full absorption . Take this medication regularly in order to get the most benefit from it. Remember to take it at the same                           -~ a.~
                                                                                                                                                                                                                                                    ~        -~
~        time each day. It is important to continue taking this medication even if you feel well. Most people with high cholesterol or triglycerides do not feel sick. It is ve ry important to co ntinue to follow you r                          - .,_
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        doctor's advice about diet and exercise. It may take up to 4 weeks before you get the full benefit of this drug .                                                                                                                          ·c:;;
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         SIDE EFFECTS:                                                                                                                                                                                                                              ~~~
         Case 8:17-cv-01814-RDP-UAM Document 38-1 Filed 05/03/18 Page 5 of 8 PageID 197




increase your risk ot serious muscle and liver problems
 OVERDOSE:
 If someone has overdosed and ha s senous sy mptoms such as pa ssing out or trouble breathing, call 911. Otherwise, call a poison control center right away. US residents can call their
 local poison contro l center at 1800-222 -1222. Canada residents can call a provincial poison control center.
 NOTES:
 Do not share this med1cat1on with others. Laboratory and/or medical tests (such as blood cho lesterol/tnglyceride levels) should be performed periodica lly to monitor your progress or check
 for side effects. Consult your doctor for more details.
MISSED DOSE:
If you miss a dose, take it as so on as you remember. If it is near the time ol the next dose, skip the missed dose and resume your usual dosing schedule. Do not double the dose to catc h
up
 STORAGE:
 Store at room temperature between 68-77 degrees F 120-25 degrees C) away from light and moisture. Do not store in the bathroom. Keep all medicines away from child ren and pets. Do
not !lush medications down the toilet or pour them into a drain unless instructed to do so. Properly discard this product when it is expired or no longer needed. Consult your pharmacist or
local waste disposal company for more details about how to sa fely discard your product.
 Information last revised June 2017 . Copyright(c) 2017 First Databank, Inc.
          Hemember that your doctor has prescribed this medication because he or she has Judged that the benefit to you is greater than the risk of s1de effects. Many people usrng this medication do not have
         serious side effects. A very small number of people taking atorvastatin may have mild memory problems or confusion. If these rare effects occur, talk to youi doctor. Rarely , statins may cause or worsen        .s~~
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                         Case 8:17-cv-01814-RDP-UAM Document 38-1 Filed 05/03/18 Page 6 of 8 PageID 198
         diabetes. Talk to your doctor about the benefits and risks. This drug may rarely cause muscle problems !w hich can rarely lead to very seriou s conditions called rhabdomyolysis and au to immune
         myopathy). Tell your doctor right away if you develop any of these symptoms during treatment and if these symptoms persist after your do ctor stops this drug: muscle pam/tenderness/weakness
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         !especially with fever or unusual tiredness). signs of kidney problems !such as change in the amount of urine). This medication may rarely cause liver problems. If you notice any of the following rare but       o :~  §
         serious side effects, tell your doctor right away: yellowing eyes/skin, dark urine, severe stomach/abdominal pain, persistent nausea/vomiting. A very serio us allergic reaction to this drug is rare . However,   ~     f..::
         seek immediate medical attention if you notice any symptoms of a serious allergic reaction , including: rash, itching/swelling !especially of the face/tongue/throat ). severe dizziness, trouble breathing. This  ~ a.~
 ~       is not a complete list of possible side effects. If you notice other effect s not listed above, contact your doctor or pharmacist. In the US · Call your doctor for medical advice about side effects. You may     ~ :5 .E
"O_-     report side effects to FDA at 1-800-FDA -1088 or at www.fda.gov/medwatch. In Canada · Call your doctor for medical advice about side effects. You may report side effects to Health Canada at                     .8     §:.il
          1-866-234-2345.                                                                                                                                                                                                  ~E ~
.C        PRECAUTIONS:                                                                                                                                                                                                     7,;    ! ;;
~         Before taking atorvastatin, tell your doctor or pharmacist if you are allergic to it; or if you have any other allergies. This product may co ntain inactive ingredients, which can cause allergic reactions or  ~~ ~
 o        other problems. Talk to your pharmacist for more details. Before using this medication, tell your doctor or pharmacist your medical history , especially of: liver disease, kidney disease, alcohol use. Before   t, § E
.c        having surgery, tell your doctor or dentist about all the products you use !including prescription drug s, nonprescription drug s, and herbal products). Limit alcoholic beverages. Daily use of alcohol may     ~:;; .2
u         increase your risk for liver problems, especially when combined with atorvastatin . Ask your doctor or pharmacist for more information. Older adults ma y be more sensi tiv e to the side effects of this drug,   ::; ~ -E
li1l      espP.cially muscle problems. This medication must not be used during pregnancy. Atorvastatin may harm an unborn baby . Therefore, it is important to prevent pregnan cy while taking this medication .            ~ ~E
a:         Consult your doctor for more details and to discuss the use of reliable forms of birth control (such as condoms, birth control pills) while takmg this medic ation . If yo u become pregnant or think you may    ., -f-
.....      be pregnant, tell your doctor right away. It is unknown if this medication passes into breast milk. Because of the possible risk to the infant, breast -feeding while using this drug ,snot recommended .       -{=. ~ ,g
~          Consult your doctor before breast-feeding .                                                                                                                                                                      •. :llE
 ::::i     DRUG INTERACTIONS:                                                                                                                                                                                               ffi O::
Q          See also How to Use section. Drug interactions may change how your medications work or increase your risk for seriou s side effects. This document does not contain all possible drug intera ctions. Keep       ::!: c "
          a list of all the products you use !including prescription /nonprescription drugs and herbal products) and share it with your doctor and pharmaci st. Do not start, stop , or change the dosage of any           q: ;: ~
          medicines without your doctor's approval. Some products that may interact with this drug include: gemfibrozil, telaprevir, ritonavir. Other medications can affect the removal of atorvastatin from your body, ,3 ~ .8
          which may affect how _atorvastatin works. Examples include colchicine, telithromycin , certain azole antifungals !such as itraconazole, ketoconazole, posaconazole). among others. Do not take any red            ~ §~
          yeast nee products while you are taktng atorvastattn because some red yeast nee products may also contatn a statln called lovastattn. Taking atorvasta tm and red yeast nee products together can                 :: 0 ~
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. •CVS pharmacy"                                                                                                                                                                                    PATIENT PRESCRIPTION INFORMATION
             6206 CO MMERCE PALMS OR.                           #6007          Ph        813 .9 71-2459                                                                                             IF YOU HAVE ANY QUESTIONS ABOUT YOUR MEDICATION,
 Q)          TAMPA, f l
 g           33Jl47                                                            www.cvs.com                   ZHOU,SHUFENG                                            04/19/2018
                                                                                                                                                                                                    PLEASE CONTACT YOUR PHARMACIST :
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 ca                                                                                                          16410 BURNISTON OR                                      Prscbr: COLIN SANDY BEACH
 >                                                                                                           TAMPA , FL 33647                                        Refills: 3
,:J                                                                                                          Ph : 8t3.505-150t
 ca                                                                                                          ESCITA LOPRA M 20 MG TABLET
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 ~                                                                                                           TAKE 1 TABLET BY MOUTH EVERY DAY
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.c This is a WHITE, ROUND-shaped TABLET imprinted with LU on the front and W23 on the back.
~     ESCIT ALOPRAM - ORAL - (ES-sye-T Al-oh-pram)
 c    COMMO N BR AND NAME(SI:                                                                                                                                                                                                                          </)
·-    lexapro
 <1l \\IARNING:
                                                                                                                                                                                                                                                       :s>-.,
 § Antidepressant medications are used to treat a variety of conditions, including depression and other mental/mood disorders. These medications can help prevent suicidal thoughts/attempts and provide                                               -"'.c:
                                                                                                                                                                                                                                                       -o--o
                                                                                                                                                                                                                                                                       .
.c other important benefits. However, studies have shown that a small number of people (especially people younger than 25) who take antidepressants for any condition may experience worsening                                                         ~o ·«i
  0. depression, other mental/mood symptoms, or suicidal thoughts/attempts. Therefore, it is very important to talk with the doctor about the risks and benefits of antidepressant medication /especially for                                          ~      (/)ca
                                                                                                                                                                                                                                                       "'--"' C:
  rJi people younger than 25), even if treatment is not for a mental/mood condition. Tell the doctor right away if you notice worsening depression /other psychiatric conditions, unusual behavior changes                                             ~-~g
:'= (including possible suicidal thoughts/attemptsl, or other mental/mood changes (including new/worsening anxiety, panic attacks, t1ouble sleeping, initability, hostile/ang1y feelings, impulsive action s,                                          -"'-o"'
'<ii severe restlessness, very rapid speech). Be especially watchful for these symp toms when a new antidepressant is started or when the dose is changed .                                                                                            "O C: '-'
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  ,_ USES:                                                                                                                                                                                                                                             0
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  ai Escitalopram is used to treat depression and anxiety. It works by helping to restore the balance of a certain natural substance /serotonin) in the brain. Esc1talopram belongs to a class of drugs known as                                       1tj:;::;ro
 1n selective serotonin reuptake inhibitors (SSR I). It may improve your energy level and feelings of well -being and decrease nervousness.
$ HOW TO USE:                                                                                                                                                                                                                                          - "'"'
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 ,_ Read the Medication Guide and, if available, the Patient Information Leaflet provided by your pharmacist before you start taking esc1talopram and each time you get a rel1II. If you have any questions, ask                                        ~           -~
~ your doctor or pharmacist. Take this medication by mouth with or without food as directed by your doctor, usually once daily in the morning or evening. The dosage 1s based on your medical condition ,                                               - .,_
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      response to treatment, age, and other medications you may be taking . Be sure to tell your doctor and pharmacist about all the products you use (including prescrip tion drugs, nonprescription drugs, and                                        ·u5~ C
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     _hetbal ptoducts\.11 you ate using the liquid form ol this medication, carefully measure the dose usin_g a special measuring_device/s!l_Q on. Do not use a hou sehold seoon because you may not g_et the
       correct dose. To reduce your risk of side effects, your doctor may direct you to start taking this drug at a low dose and gradually increase your dose. Follow your doctor's instructions carefully . Do not                                    =--,,,
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      increase your dose or use this drug more often or for longer than prescribed . Your condition will not improve any faster, and your risk of side effects will increase. Take this medication regularly to get the                                -5       5o
      most benefit from it. To help you remember, take it at the same time each day. It is important to continue taking this medication even if you feel well. Do not stop taking this medication without consulting                                   o (':j ~
      your doctor. Some conditions may become worse when this drug is sudden ly stopped. Also, you may experience symptoms such as mood swings, headache, t11edness, sleep changes, and brief feelings                                                 ~@U::
      similar to electric shock. To prevent these symptoms while you are stopping treatment with this drug, your doctor may reduce your dose gradually. Consult your doctor or pharmacist for more details.                                            - ·uE
      Report any new or worsening symptoms right away. It may take 1 to 2 weeks to feel a benefit from this drug and 4 weeks to feel the full benefit of this medication. Tell your doctor if your condition does
                                                                                                                                                                                                                                                        g·~_g
 c not improve or if it worsens.                                                                                                                                                                                                                        ~-§.~
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 <1l SIDE EFFECTS:                                                                                                                                                                                                                                      ~ [:§
'O See also Warning section. Nausea, dry mouth, trouble sleeping, constipation, tiredness, drowsiness, dizziness, and increased sweating may occur. If any of these effects persist or worsen , tell your                                              .0
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:= doctor promptly. Remember that your doctor has prescribed this medication because he or she has judged that the benefit to you is greater than the risk of side effects. Many people using this                                                      -o~
c3    medication do not have serious side effects. Tell your doctor right away if you have any serious side effects. including: decreased interest in sex , changes in sexual ability, easy bruising/bleeding . Get
      medical help right away if you have any very serious side effects, including: bloody /black/tarry stools, fainting, fast/irregular heartbeat, vomit that looks like coffee grounds, seizures, eye
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o     pain/swelling/redness, widened pupils, vision changes (such as seeing rainbows around lights at night, blurred vision). This medication may increase serotonin and rarely cause a very serious condition                                          "' "' "'
.c called serotonin syndrome/toxicity. The risk increases if you are also taking other drug s that increase serotonin, so tell your doctor or pharmacist of all the d1ugs you take (see Drug Interactions section l.
  u Get medical help right away if you develop some of the following symptoms: fast heartbeat, hallucinations, lo ss of coordination, severe dizziness, severe nausea /vomiting /diarrhea, twitching muscles,
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 lE   unexplained fever, unusual agitation/re~tlessness. Rarely, males may have a painful or prolonged erection la sting 4 or more hours. If this occurs, stop using this drug and get medical help right away, or
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a: permanent problems could occur. A very serious allergic reaction to this drug is rare. However, get medical help right away if you notice any symptoms of a serious allergic reaction , including: rash,                                             .c:
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..... itching/swelling (especially of the face/tongue/throat). severe dizziness, trouble breathing. This is not a complete list of possible side effects. If you notice other effects not hsted above, contact your
  O doctor or pharmacist. In the US - Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800-FDA-1088 or at www.fda .gov/medwatch. In Canada - Call your doctor                                            ~~~
                                                                                                                                                                                                                                                        .. E"'
 "5 for medical advice about side effects. You may report side effects to Health Canada at 1-866-234-2345 .                                                                                                                                             Q: ~.c:
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 0 PRECAUTIONS:                                                                                                                                                                                                                                         ::S -!::~
   a. Before takin~ escitalopram, tell your doctor or pharmacist if you are allergic to it; or to citalopram; or ii you have any other allergies. This product may contain inactive ingredients, which can cause                                        q: Q)          0
  <ll allergrc reactions or o~her problems. Talk to your pharmacist for more details. Before using this medication. tell you r doctor or pharmacist your medical history , especially of: perso nal or family history of                                (3 ~~
 ~ bipolar/manic-depressive disorder, personal or family history of suicide attempts, liver disease, seizures, intestinal ulcers/bleeding (peptic ulcer disease) or bleeding problems, low sodium 111 the blood                                         ~ 2:E
      (hyponatremia), personal or family history of glaucoma (angle-closure type). Escitalopram may cause a condition that affects the heart rhythm (QT prolongation ). OT prolongation can rarely cause                                                ~ ~~
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se11ous \rarely fatal) fast/irregular heartbeat and other symptoms (such as severe dizziness, fainting) that need medical attention right away. The risk of OT prolongation may be increased
if you have certain medical conditions or are taking other drugs that may cause OT prolongation. Before using escitalopram, tell your . doctor or pharmacist of all the drugs you take and if
you have any of the following conditions : certain heart problems (heart failure, slow heartbeat, recent heart attack, OT prolongation 1n the EKG), famdy history o_f certain _heart problems (QT
  prolongation in the EKG, sudden cardiac death). Low levels of potassium or magnesium in the blood may also increase your nsk of OT prolongation. This nsk may increase 1f you use
certain drugs (such as d1uret1cs/"water pills" ) or if you have conditions such as severe sweating, diarrhea, or _vomiting . Talk to _your doctor about using esc_italopram saf_ely . This drug _may
 make you dizzy or drowsy. Alcohol or mari1uana ca n make you more dizzy or drowsy. Do not dnve, use machinery, or do anything that needs alertness until you can do 1t safely. Avoid
 alcoholic beverages. Talk to yo ur doctor if you are using marijuana . The liquid form of this medication may contain sugar and/or aspartame. Caution is advised if you have diabetes,
 phenylketonuna (PK UI, or any other condition that requires you to limit/avoid these substances in your diet Ask your doctor or pharmacist about using this medication safel_         y. Before h_
                                                                                                                                                                                                  aving
 surgery, tell your doctor or den tist about all the products you use (including prescnpt1on drugs, nonpresc11pt1on drugs, and herbal products). Older adults may be more sensitive to the side
 effects of this drug, such as QT prolongation (see above). loss of coordination, or bleeding . They may also be more likely to lose too much salt (hyponatremial. especially if they are also
 taking "w ater pills" (diuretics) with this medication. Loss of coordination can increase the risk of falling . Children may be more sensitive to the side effects of this drug, especially loss of
 appetite and weight loss. Monitor weight and height in children who are taking this drug. During pregnancy, this medication should be used only when clearly needed. It may harm an
 unborn baby . Also, babies born to mothers who have used this drug during the last 3 months of pregnancy may rarely develop withdrawal symptoms such as feeding /breathing difficu lties,
 seizures, muscle stiff ness, or constant crying. If you notice any of these symptoms in your newborn, tell the doctor promptly. Since untreated mental/mood problems (such as depression,
 anxiety, obsess1ve-compuls1ve diso rder, panic diso rder) can be a serious condition, do not stop using this medication unless directed by your doctor. If you are planning pregnancy,
 become pregnant, or think you may be pregnant, immediately discuss with your doctor the benefits and risks of using this medication during pregnancy. This medication passes into breast
  milk and may have undesirable effects on a nursing infant. Consult your doctor before breast-feeding .
  DRUG INTERACTIONS:
  Drug interactions may change how yo ur medications work or increa se your risk for serious side effects. This document does not contain all possible drug interactions. Keep a list of all the
  products you use (including prescription/nonprescription drugs and herbal products) and share it with your doctor and pharmacist. Do not start, stop, or change the dosage of any
 medicines without your doctor's app1oval. Some products that may interact with this drug include: other drugs that can cause bleeding/bruising (including antiplateJ.et drugs such as
 clop1dogrel, NSA\Os such as ibuprofen, "blood thinners" such as warfarinl. Aspirin can increase the risk of bleeding when used with this medication. However, if your doctor has directed
 you to take low-dose asp1nn for heart attack or stroke prevention (usually at dosages of 81-325 milligrams a day ). you should continue taking it unless your doctor instructs you otherwise.
 Ask your doctor or pharmacist for more details. Taking MAO inhibitors with this medication may cause a serious (possibly fatal) drug interaction. Avoid taking MAO inhibitors •
 (isocarboxazid, hnezolid, methylene blue, moclobemide, phenelzine, procarbazine, rasagiline, safinamide, selegiline, tranylcyprominel during treatment with this medication. Most MAO
 mhib1tors should also not be taken for two weeks before and after treatment with this medication . Ask your doctor when to start or stop taking this medication. The risk of serotonin
 syndrome1toxic1ty increases if you are also taking other drugs that increase serotonin. Examples include street drugs such as MDMA/"ecstasy," St. John's wort, certain antidepressants
 (including other SSRls such as fluoxetine /paroxetine, SNRls such as duloxetine/venlafaxinel, tryptophan, among others. The risk of serotonin syndrome/toxicity may be more likely when
  you start or increase the dose of these drugs. Tell your doctor or pharmacist ii you are taking other products that cause drowsiness including alcohol, marijuana, antihistamines (such as
  cetmzme, d1phenhydraminel. drugs for sleep or anxiety (such as alprazolam, diazepam, zolpideml. muscle relaxants, and narcotic pain relievers (such as codeine). Check the labels on all
  your medicines (such as allergy, pain/fever reducers, or cough-and -cold_productsl because they may contain ingredients that cause drowsiness or increase the risk of bleeding. Ask your
  pharmacist about using tho se products safely. Many drugs besides esc1talopram may affect the heart rhythm (QT prolongation), including amiodarone, pimozide, procainamide, quinidine,
  sota lol, among others. Escitalopram 1s very similar to citalopram. Do not use medication s containing citalopram while using escitalopram. This medication may interfere with certain
  medical/laboratory tests (including brain scan for Parkinson's disease), possibly causing false test results. Make sure laboratory personnel and all your doctors know you use this drug.
 OVERDO SE:
 If someone has overdosed and has ser iou s sy mptoms such as passing out or trouble breathing, call 911. Otherwise, call a poison control center right away. US residents can call their
local poison control center at 1-800-2221222. Ca nada residents can call a provincial poison control center.
NOTES:
Do not share this med1cat1on with others. Keep all regular medical and psychiatric appointments.
MISS ED DOS E:
If you miss a dose, take It as soon as you remember. If 1t 1s near the time of the next dose, skip the missed dose and resume your usual dosing schedule. Do not double the dose to catch •
up.
STOR AGE:
Staie at rnom temperatu1e away from light and moisture. Do not store in the bathroom. Keep all medications away from children and pets. Do not flush medications down the toilet or pour
 them into a drain unless instructed to do so. Properly discard this product when it is expired or no longer needed. Consult your pharmacist or local waste disposal company.
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